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                                                 Wednesday, 06 October, 2021 05:08:44 PM
                                                             Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
                                       )
     v.                                )       Case No. 18-cr-30025
                                       )
ABDUL G. ALSAMAH,                      )
                                       )
           Defendant.                  )

             PRELIMINARY ORDER OF FORFEITURE

SUE E. MYERSCOUGH, U.S. District Judge:

     THIS MATTER is before the Court on the Government’s Motion

for entry of a Preliminary Order of Forfeiture, (d/e 154), upon the

guilty verdict of Defendant Abdul G. Alsamah, (d/e 133). Pursuant

to 21 U.S.C. § 853 and Rule 32.2 of the Federal Rules of Criminal

Procedure, the Court finds as follows:

     1.     The Indictment herein sought forfeiture, pursuant to 21

U.S.C. § 853, of Eighty-Nine Thousand Five Hundred Five Dollars

($89,505.00) in U.S. Currency, which are proceeds obtained directly

or indirectly as a result of the commission of the offenses listed in the

Indictment or used to facilitate the commission of said offenses. The



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Government has confirmed with agents from the Drug Enforcement

Administration that the correct amount of U.S. Currency seized was

Eighty-Nine Thousand Five Hundred Fifteen Dollars ($89,515.00).

     2.    On June 21, 2021, a jury returned a verdict form wherein

they found the Defendant guilty of Counts 1, 2, and 3 of the

Indictment. (d/e 133) The Defendant’s sentencing hearing is

currently set for October 29, 2021.

     3.    Based upon the findings of the jury, and the evidence

presented by the United States, this Court finds that the Government

has established the appropriate nexus between the U.S. currency to

be forfeited and the offenses to which the Defendant was convicted

and that said property is, therefore, subject to forfeiture to the United

States.

     This Court hereby GRANTS the United States’ Motion for entry

of a Preliminary Order of Forfeiture. Accordingly, it is hereby

ORDERED, ADJUDGED, and DECREED as follows:

     A.    All right, title, and interest in and to: Eighty-Nine

Thousand Five Hundred Fifteen Dollars ($89,515.00) in U.S.

currency is hereby forfeited to the United States of America, and the

United States is hereby authorized to seize said property for

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disposition in accordance with the law subject to the provisions of 21

U.S.C. § 853.

     B.    The above-mentioned property is to be held by the United

States until further order of this Court.

     C.    Pursuant to 21 U.S.C. § 853, the United States shall, to

the extent practicable, provide direct written notice to any persons

known to have alleged an interest in the seized property, and shall

publish notice of this order and the Government’s intent to dispose

of the property in the manner prescribed by the Attorney General,

and notice that any person, other than the Defendant, having or

claiming a legal interest in the property must file a petition with the

Court and serve a copy on John D. Hoelzer, Assistant United States

Attorney, within thirty (30) days of the final publication of notice or

of receipt of actual notice, whichever is earlier. This notice shall state

that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the

petitioner under penalty of perjury and shall set forth the nature and

extent of the petitioner's right, title or interest in the forfeited property

and any additional facts supporting the petitioner's claim and the

relief sought. Publication may consist of posting notice for a period

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of thirty days on www.forfeiture.gov, an internet site maintained by

the U.S. Department of Justice.

     D.   Upon adjudication of all third-party interests, this Court

will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n).


ITS IS SO ORDERED.
ENTERED: October 6, 2021.

                                /s/ Sue E. Myerscough
                                SUE E. MYERSCOUGH
                                UNITED STATES DISTRICT JUDGE




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